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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE WESTERN DISTRICT OF ARKANSAS
                                HARRISON DIVISON

LARRY COX                                                                           PLAINTIFF

v.                                   NO. 3:21-CV-03018-TLB

WAL-MART, INC.                                                                    DEFENDANT

                   JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       The parties to this action, acting through counsel, and pursuant to Federal Rule of Civil

Procedure 41(a)(1)(A)(ii) hereby stipulate to the Dismissal With Prejudice of this action,

including all claims asserted against all parties, with each party to bear its own attorneys’ fees

and costs.

                                                Respectfully Submitted,


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